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6
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8
                                    IN THE UNITED STATES DISTRICT COURT
9
                                        EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                              CASE NO. 1:15-CR-00169 LJO
12
                                   Plaintiff,               ORDER ALLOWING DEFENDANT’S
13                                                          APPEARANCE ON STATE OF CALIFORNIA WRIT
                            v.                              FOR HABAES CORPUS AD PROSEQUENDUM
14
     MANUEL VARGAS GARCIA,
15
                                  Defendant.
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             On September 3, 2015, a Superior Court Judge for the State of California, County of Fresno,
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     requested that the body of the above-named defendant be produced in Fresno County Superior Court for
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     further proceedings in the case of People v. Manuel Vargas Garcia, F1305672. The defendant’s appearance
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     before the state court judge is necessary on September 25, 2015 at 8:30 a.m. for a sentencing hearing. The
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     defendant is currently in the custody of the United States Marshal, charged in the above-entitled action,
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     housed at the Lerdo Maximum-Medium Facility. His next appearance before the United States Magistrate
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     Court is scheduled for October 5, 2015 at 1:00 p.m. before the Honorable Sheila K. Oberto. It appearing that
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     the defendant’s presence is needed for a hearing in the state action, and that the next court appearance in the
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     above-entitled case is October 5, 2015 for a status conference:
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             IT IS HEREBY ORDERED that deputies of the Fresno County Sheriff’s Office may produce the
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     defendant in state court on September 25, 2015 for purposes of his presence at the pretrial/motion hearing,
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1    but shall return him to the custody of the United States Marshal Service in the physical custody of Lerdo

2    Maximum-Medium Facility immediately after the proceeding has concluded on September 25, 2015. The

3    Court further orders that the Fresno County Sheriff’s Office or their designated agents can produce the

4    defendant for future state court proceedings with his return immediately thereafter after the U.S. Marshal

5    Service and the Fresno County Sheriff’s Office confirms with an Assistant U.S. Attorney that no state court

6    appearance conflicts with any federal court appearance. Under no circumstances is the defendant to be

7    released from the physical custody of the Lerdo Maximum-Medium Facility other than for the court

8    appearances that are the subject of this Order or scheduled Federal Court Appearances, or upon further order

9    from this court.

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     IT IS SO ORDERED.
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12       Dated:     September 8, 2015                               /s/ Gary S. Austin
                                                       UNITED STATES MAGISTRATE JUDGE
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